, Case 4:19-cV-00023-CVE-.]F.] Document 2 Filed in USDC ND/OK on 01/14/19 Page 1 of 11

 

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Name, Prisoner lD #

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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

`?/)UL~ EVE/QL>/“MO"ng/l/aintiff(s) C]A§ M 9 2 3 CVE _ JF.I
(

(Fu|| Name) / To be supplied by the Clerk)

 

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v.z¢)A$H ?»)3‘7'0/1) 00¢)~"7`>/ @T'”"L CIVIL RIGHTS CoMPLAINT

\\ . "’ PURSUANT TO 42 U.S.C. § 1983
-0 . “ __
CUQ//S D€,/H',Dlp g fqlé€fendant (s)

KE \/:D,d 6 0 eli AA)OA)"@ 7114 L”

 

 

 

A. PARTIES
, l) QAUL EUE)QL>/ pKO'-SE , isacitizen of qu @/77/)
\ /<Plaimirn ' (stare)

Who presently resides at L C Fl. 8b 0 7 55 F/Owe£}”@U/|) b M ,
(mailing address or place of confinement)

A/)wr@,d,, 0/</_/4 73 s@/

O
2) Defendant C L)IQ"I`/ _S D 5 /A pp
(Name of first defendatit)F

';Y_ B/) RT/e$ v/°//e/. 0/</,/4.

(City, State)

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\\ ”: w (Position and title,ifany) d

At the time Fhe claim(s) alleged in this complaint arose, was this defendant acting under color of state

 

is a citizen of

, and is employed

 

 

law? Ye N0 |:l
if your an Wer is "Yes", briefly explain:

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.FS R@s,O@A)S?l)/C. F@V\ 771/2314 EW’/)/O‘§€CL§ /qc~"L’ué> 5 U/VC§@&
\f/%/vap@<§§f§)& 9/: LA£/d¢ PURSUANT TO RC RULE 84

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6
3) Defendant /<E\// A) &UC` }')H mo/l) is a citizen of

(Name ogsecond defendant)

B/),ar/e su,//@. 0/(2/4

(City, State)

as :D/sT,Q/CTH#ORN€;/i/ FO£_ MA 3%1103/0)\) £.OUA)T)/

(Position and title, if any)

. and is employed

At the time the claim(s) alleged m this complaint arose, was this defendant acting under color of state
law? Yes%No D

lf your answer ls "Yes", briefl explain:

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OB. JURISTICTION

Jm'isdiction ls asserted pursuant to: (Check one)

1)_>% 42U.SC. §1983

|Il Bivens v. Sl`x Unknown Named Agents ofFed. Bureau of Narcotics.
403 U.S. 388 (1971) and 28 U.S.C. § 1331 (applies to fed. prisoners)

2) Jurisdiction also in invoked pursuant to 28 U.S.C. § 1343(a)(3). (If you wish to assert jurisdiction under
different or additional statutes, you may list them below.)

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C. NATURE OF THE CASE

l) Briefly state thebackground ofyour case'hy clV/L quh`rg [,UE£Q \Z/oO/AT£D 6/
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D. CAUSE OF ACTION
l) l allege that the following of my constitutional rights, privileges or immunities have been violated and

that the following facts fonn the basis for my allegations: (lf necessary you may attach up to two
additional pages (8‘/2" x ll") to explain any allegation or to list additional supporting facts )

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(2) Supporting Facts: (lnclude all facts you consider important, including names of persons involved,
places and datc. Describe exactly how each defendant is involved State the facts clearly m your own _ o la
words without citing legal authority or argument.) I H A D § / 3 hl 5 TO 19 ibi M_§_"£Q_,__

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(2) Supporting Facts: (Include all facts you consider important, including names of persons involved,
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(2) Supporting Facts: (lnclude all facts you consider important, including names of persons involved,
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n words without citing legal author/120 or argument ) "7"//€ CO°L)ILT § / SILK_S

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E. PREVIOUS LAWSUITS AND ADMINISTRA'I`IVE RELIEF

l) Have you begun other lawsuits in state or federal court dealing with the sa e facts involved in this action
or otherwise relating to the conditions of your imprisonment? Yes |:\ N

lf your answer ls "Yes", describe each lawsuit. [lf there is more than one lawsuit, describe the additional
lawsuits on another piece ofpaper, using the same format on a blank sheet of paper which you should
label “E. PREVIOUSLYLA WSUITS AND ADMINISTRA TIVE RELIEF. ”]

a) Parties to previous lawsuit

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Defendants: %/G 7_’ l/l//g"§ A q mo 0 _Q$ 0 [;` |
b) Name and Location of Court and docket number: _M g d”//O /O'?l`/0 FFSJ `#l nor
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c) Disposition ‘((or example:0 Was the case dismissed?W /as it appealed? ls it still pending?)T_

AZQ) t:l/ 1// §t/t~/:§ /C//<l§ lb/FF!I) L//€>iB /QA>

d) Issues raised: ;: § ;fl;z: ( § § C.)(L~,l 2 l 21 ;l C){l;[§; 2 Z% t §
e) Approximate date of filing lawsuit: gm é/£` U$C. z 1983

ij Approximate date of disposition:

 

 

2) l have previously sought informal or formal relief from the appropriate administrative officials regarding
the acts complained of in Part C. Yes_$" No l:] lf your answer is "Yes", briefly describe how relief

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3) lhave exhausted available administrative remedies Y'E,¥.NO 11

  
  
  

 

 

lf your answer ls "Yes", briefly explain the steps taken Attach proof of exhaustion lf your answer is
“No”, briefly explain why administrative remedies were not exhausted

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F. PREVIOUSLY DISMISSED ACTIONS OR APPEAL

l) If you are proceeding under 28 U. S. C. § 1915 please list `-. v . ou ave »rought in
a court of the United States while you were incarcerated or detained in any facility, that was dismissed as
frivolous, malicious or for failure to state a claim upon which relief may be granted Please describe each
civil action or appeal. [lf there is more than one civil action or appeal, describe the additional civil
actions or appeals using this same folmat on a blank sheet of paper which you should label “F.
PREVIOUSLY DISMISSED ACTIONS OR APPEALS ’]

a) Parties to previous lawsuit: <`SE g `S€Q+/@ 10 g A BOVg)

 

  
 

complain.cr (5/30/97) PURSUANT TO RCP RULE 84

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Case 4:19-cV-00023-CVE-.]F.] Document 2 Filed in USDC ND/OK on 01/14/19 Page 5 of 11

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p/A//\)/:QF,AE @/ C"m)lLT DF /‘WFE¢LS AS well

Plaintiffs/Q_§ TH£ 69 R ASSD C/ ooq"},/ D/\J Q g

Defendants:

Name and Location of Court and docket numbers /l) Ob(.) O/B l// ©L 6 C\}'/`o A) /S
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c) Grounds for dismissal: [ ] fn'volous [ ] malicious [ ] failure to state a claim upon which relief
may be granted.

 

 

d) Approximate date of filing lawsuit:

 

e) Approximate date of disposition:

 

Are you in imminent danger of serious physical injury? Y o III. lf your answer Is "Yes", please
describe the facts m detail below without citing legal authon oor argumento

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(Attorney’s hill address and telephone number)

complain.cr (5/30/97) PURSUANT TO RCP RULE 84
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DECLARATION UNDER PENALTY OF PERJURY

'l_`he undersigned declares (or certifies, verities, or states) under penalty of perjury that he is the plaintiff in the
above action, that he has read the above complaint and that the information contained therein is true and correct 28

U.S.C. § 1746. 18 U.S.C. § 1621.

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(Location) (Date)

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Original Signa re of Petitioner

complain.cr (5/30/97) PURSUANT TO RCP RULE 84
Page 6 of 6

Case 4

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UNITED STATES DISTRICT COURT
FOR THE g DISTRICT OF OKLAHOMA
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Plaintiff(s)

` vs.?,(}nsh‘ /°/037‘@¢!` Uo. ev.AL

Case No.

 

 

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PRAECIPE FOR SUMl\'IONS
(Required by LCVR 4.1)

TO THE CLERK OF SAID COURT: You Will please issue summons in the above entitled cause
for the persons listed below and make the same returnable
according to law.

Type of Days to

 

 

Name of Defendant(s) Address Serve/Aggt Serve/Agent Service Answer
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4 n e of Plaintiff or Attomey ,t'or Plaintiff (Please Type or Print)

  
 
 

S gnature (Plaintlff or Attorney) k 4

  

Telephone No.. ' Fax No.:

&607 55 1570ch mo¢/A)D Ql)

Street or Mailing Address

Z.AWTOA) [D£/,A 7350/

City & State Zip Code

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UNITED STATES DISTRICT COURT
FOR THE H DISTRICT OF OKLAHOMA

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§
Plaintiff(s) ) Case No.
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}(CV/°A) BUCL;AA,UU €7-~f A L_Defendant(s).
PRAECIPE FOR SUMMONS
(Required by LCVR 4.1)

TO THE CLERK OF SAID COURT: You Will please issue summons in the above entitled cause
` for the persons listed below and make the same returnable
according to law.

Type of Days to

 

 

Name of Defendant(s) Address Serve/Agent Serve/Ag§nt Service Answer
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ignature (Pl ` tiff or Attomey)

Telephone No.: Fax No.:

E?é 07 55 F/aw£@mo<)A/D »QD.

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City & State Zip Code

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